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4                         UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

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7    UNITED STATES OF AMERICA,                No. 2:15-cr-00190-GEB
8                  Plaintiff,
9         v.                                  PROPOSED VOIR DIRE, INITIAL
                                              JURY INSTRUCTIONS, JURY
10   JOHN MICHAEL DICHIARA, et. al.,          INSTRUCTIONS DURING TRIAL,
                                              CLOSING JURY INSTRUCTIONS, AND
11                 Defendants.                VERDICT FORM
12

13              Attached are proposed voir dire questions, initial jury

14   instructions,    instructions    that    may   be   given   during   trial,

15   closing jury instructions, and verdict form.

16              The parties shall respond to the proposed voir dire

17   questions, as soon as practicable, and shall request a bench

18   conference, if one is necessary, before the commencement of voir

19   dire to discuss any issue concerning the proposed voir dire.

20   Failure to respond to the proposed voir dire shall be deemed

21   acquiescence to the proposed voir dire.

22              The bracketed optional language shall be clarified by a

23   party or the parties as soon as feasible.

24              Trial will commence at 9:00 a.m. on September 12, 2017.

25              Dated:   September 7, 2017

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                               PROPOSED VOIR DIRE
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                          UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF CALIFORNIA
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9    UNITED STATES OF AMERICA,              No. 2:15-cr-00190-GEB

10                 Plaintiff,

11   v.                                     VOIR DIRE

12   JOHN MICHAEL DICHIARA, et. al.,

13                 Defendants.

14              Good morning and welcome to the United States District
15   Court.    Thank you for both your presence and your anticipated
16   cooperation in the questioning process we are about to begin.
17   You are performing an important function in our legal system.
18              The court personnel who will assist me in this trial
19   are on the platform below me.            The Courtroom Deputy Clerk is
20   Shani Furstenau.     Next to her is the Certified Court Reporter.
21   Ms.   Furstenau,   please   administer    the   oath   to   the   prospective
22   jurors.
23              We are about to begin what is known as voir dire.            Voir
24   dire consists of questions designed to provide the court and the
25   parties   with   information   about     each   potential    juror.     After
26   questioning is complete, the parties will exercise what is known
27   as peremptory challenges.
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1                   1.    Parties,         the     Jury     Administrator          has       already

2    randomly selected potential jurors and their names are on the

3    sheet you have been given in the order of the random selection.

4    Each potential juror has been given a large laminated card on

5    which    the    number      is     placed     showing       the    order     in     which     the

6    potential juror was randomly selected.

7                   2.    I will ask the potential jurors questions as a

8    group.     If a potential juror has a response, he or she shall

9    raise the laminated card.                   Generally, the potential juror with

10   the lowest number will respond first.                         If no laminated card is

11   raised, I will simply state “no response” and then ask the next

12   question.       If you know it is your turn to respond to a question,

13   you may respond before I call your                      seat       number         by    stating

14   your     seat       number,      then       your response.             That could expedite

15   the process.

16                  3.    If a potential juror concludes a question unduly

17   pries into a private matter, the potential juror may request to

18   respond    out      of   the     earshot      of    other     potential      jurors.          I’m

19   authorized to try to protect legitimate privacy interests, but

20   may ask questions in the area that you indicate a desire to
21   discuss in private to determine whether it, or any aspect of the

22   matter, should be responded to as indicated.                             This approach is

23   taken because the trial should be open unless I have a legitimate

24   reason to close an aspect of it.

25                  4.    The presentation of evidence and closing argument

26   portions       of    the      trial     are        expected       to    be   completed        in
27   approximately        9     court    days,      after     which         the   case      will   be

28   submitted to the jury for jury deliberation.                                 Trial will be
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1    conducted on Tuesdays, Wednesdays, and Thursdays, from 9:00 a.m.

2    to    about        4:30        p.m.          However,      once     you     commence       jury

3    deliberations,        you       will      be    expected    to     deliberate      every    day

4    except weekends until you complete your deliberations.                               Does the

5    schedule pose a special problem for any prospective jury?

6                  5.     If the trial is not completed within the nine days

7    estimated, trial will resume on October 17, 2017.

8                  6.     Each        party       may   make    any    desired     introduction;

9    however, the United States shall name anticipated witnesses it

10   may call so it can be determined whether any potential jury knows

11   or has had contact with a person named.

12                        a.         Do you know and or have you had any contact

13                                   with a person just named?

14                 7.     This       is    a   criminal       case    brought    by     the   United

15   States. The United States charges all defendants in Count One

16   with conspiracy to falsely make lending association writings and

17   to commit bank fraud.                 The United States charges defendant John

18   Michael DiChiara in Counts 2 through 16 with Falsely Making Bonds

19   and   Obligation          of    Certain        Lending    Agencies    and     in   Counts    18

20   through 24, 26 through 31, and 33 through 39 with Bank Fraud. The
21   United States charges defendant George Larsen in Counts 19, 20,

22   23, and 24, with Bank Fraud. The United States charges defendant

23   Larry Todt in Count 31 with Bank Fraud. The charges against the

24   defendants are contained in the indictment. The indictment simply

25   describes     the     charges          the     United     States     brings      against    the

26   defendants. The indictment is not evidence and does not prove
27   anything. The defendants have pleaded not guilty to the charges

28   and are presumed innocent unless and until the United States
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1    proves   the    defendants      guilty    beyond       a    reasonable         doubt.        In

2    addition, the defendants have the right to remain silent and

3    never have to prove innocence or to present any evidence.

4               8.     Has anyone read or seen anything about the charges

5    in this case?

6                           a. If so, is there anything about what you may

7                             have read or seen which would affect                              your

8                             ability to consider only the evidence that

9                             you     hear    in    court       and    to     be        fair    and

10                            impartial to both sides?

11              9.     In light of the allegations, does any potential

12   juror prefer not being a juror on this case?

13              10.    Is    there    anything      about       the   allegations              which

14   causes you to feel that you might not be a fair juror in this

15   case?

16              11.    Is there any reason why you would not be able to

17   be a juror and/or to give your full attention to this case?

18              12.    Have you, any member of your family, or any close

19   friend been arrested for a crime or been the defendant in a

20   criminal case?
21              13.    Do you have any religious or moral objection to

22   sitting in judgment of another’s conduct in a court of law?

23              14.    Do    you     have     any   bias        in    favor        or     against

24   Catholicism?

25              15.    Have you ever served as a juror in the past, in

26   any capacity?
27                     a.     State    whether      it   was     a    civil    or        criminal

28                            case, and whether the jury reached a verdict,
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1                              but do not state the actual verdict reached.

2                16.   Would    you    tend        to    believe    the    testimony    of    a

3    witness just because of that witness’s present or former status

4    as a law enforcement officer?

5                17.   Would you tend to disbelieve the testimony of a

6    witness just because of the witness’s present or former status as

7    a law enforcement officer?

8                18.   You are required to apply the law I will give you

9    even if you believe a different law should apply.                       If you cannot

10   agree to what I just said, please raise your hand.

11               19.   Do you have any difficulty with the rule of law

12   that a person charged with a crime is presumed innocent and need

13   not present any evidence, and the government at all times bears

14   the burden of proving guilt beyond a reasonable doubt?

15               20.   Do you have any problem with the rule of law that

16   a defendant need not testify on his own behalf and that if a

17   defendant    chooses      not    to    testify,       that     factor    may   not      be

18   considered by you in your deliberations?

19               21.   Is there anything that we have not discussed that

20   you believe could have a bearing on your ability to be a fair and
21   impartial   juror   in     this       case,    or    that     you    suspect   a   trial

22   participant would desire to know?

23               22.   The Courtroom Deputy Clerk will give the juror in

24   seat number one a sheet on which there is information we seek.

25   Please pass the sheet to a potential juror near you after you

26   respond.
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1              Please state:

2                    a.    your juror seat number;

3                    b.    your name and educational background;

4                    c.    the   educational         background   of   any   person

5                          residing with you;

6                    d.    your present and former occupations; and

7                    e.    the   present       and   former   occupations    of   any

8                          person residing with you.

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                      PROPOSED INITIAL JURY INSTRUCTIONS
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1                               INSTRUCTION NO. 1

2              Jurors: You now are the jury in this case, and I want

3    to tell you something about your duties as jurors and give you

4    some initial instructions. At the end of the trial I will give

5    you more detailed written instructions. When you deliberate, it

6    will be your duty to weigh and to evaluate all the evidence

7    received in the case and, in that process, to decide the facts.

8    To the facts as you find them, you will apply the law as I give

9    it to you, whether you agree with the law or not. You must decide

10   the case solely on the evidence and the law before you and must

11   not be influenced by any personal likes or dislikes, opinions,

12   prejudices, or sympathy. Please do not take anything I may say or

13   do during the trial as indicating what I think of the evidence or

14   what your verdict should be—that is entirely up to you.

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1                               INSTRUCTION NO. 2

2              The evidence you are to consider in deciding what the

3    facts are consists of:

4              (1) the sworn testimony of any witness;

5              (2) the exhibits which are received in evidence; and

6              (3) any facts to which the parties agree.

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1                                INSTRUCTION NO. 3

2              The following things are not evidence, and you must not

3    consider them as evidence in deciding the facts of this case:

4              (1) statements and arguments of the attorneys or a an

5                   unsworn statement of a party;

6              (2) questions and objections of the attorneys or a

7                   party;

8              (3) testimony that I instruct you to disregard; and

9              (4) anything you may see or hear when the court is not

10                  in session even if what you see or hear is done or

11                  said by one of the parties or by one of the

12                  witnesses.

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1                               INSTRUCTION NO. 4

2              Evidence may be direct or circumstantial. Direct

3    evidence is direct proof of a fact, such as testimony by a

4    witness about what that witness personally saw or heard or did.

5    Circumstantial evidence is indirect evidence, that is, it is

6    proof of one or more facts from which one can find another fact.

7              You are to consider both direct and circumstantial

8    evidence. Either can be used to prove any fact. The law makes no

9    distinction between the weight to be given to either direct or

10   circumstantial evidence. It is for you to decide how much weight

11   to give to any evidence.

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1                               INSTRUCTION NO. 5

2              There are rules of evidence that control what can be

3    received in evidence. When a lawyer or a party asks a question or

4    offers an exhibit in evidence and a lawyer or a party on the

5    other side thinks that it is not permitted by the rules of

6    evidence, that lawyer or party may object. If I overrule the

7    objection, the question may be answered or the exhibit received.

8    If I sustain the objection, the question cannot be answered, or

9    the exhibit cannot be received. Whenever I sustain an objection

10   to a question, you must ignore the question and must not guess

11   what the answer would have been.

12             Sometimes I may order that evidence be stricken from

13   the record and that you disregard or ignore the evidence. That

14   means that when you are deciding the case, you must not consider

15   the evidence that I told you to disregard.

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1                                INSTRUCTION NO. 6

2              In deciding the facts in this case, you may have to

3    decide which testimony to believe and which testimony not to

4    believe. You may believe everything a witness says, or part of

5    it, or none of it.

6              In considering the testimony of any witness, you may

7    take into account:

8              (1) the witness’s opportunity and ability to see or

9                   hear or know the things testified to;

10             (2) the witness’s memory;

11             (3) the witness’s manner while testifying;

12             (4) the witness’s interest in the outcome of the case,

13                  if any;

14             (5) the witness’s bias or prejudice, if any;

15             (6) whether other evidence contradicted the witness’s

16                  testimony;

17             (7) the reasonableness of the witness’s testimony in

18                  light of all the evidence; and

19             (8) any other factors that bear on believability.

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21             The weight of the evidence as to a fact does not

22   necessarily depend on the number of witnesses who testify about

23   it.

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1                               INSTRUCTION NO. 7

2              I will now say a few words about your conduct as

3    jurors.

4              First, keep an open mind throughout the trial, and do

5    not decide what the verdict should be until you and your fellow

6    jurors have completed your deliberations at the end of the case.

7              Second, because you must decide this case based only on

8    the evidence received in the case and on my instructions as to

9    the law that applies, you must not be exposed to any other

10   information about the case or to the issues it involves during

11   the course of your jury duty. Thus, until the end of the case or

12   unless I tell you otherwise:

13             Do not communicate with anyone in any way and do not

14   let anyone else communicate with you in any way about the merits

15   of the case or anything to do with it. This includes discussing

16   the case in person, in writing, by phone or electronic means, via

17   email, text messaging, or any Internet chat room, blog, website

18   or other feature. This applies to communicating with your fellow

19   jurors until I give you the case for deliberation, and it applies

20   to communicating with everyone else including your family
21   members, your employer, the media or press, and the people

22   involved in the trial, although you may notify your family and

23   your employer that you have been seated as a juror in the case.

24   But, if you are asked or approached in any way about your jury

25   service or anything about this case, you must respond that you

26   have been ordered not to discuss the matter and to report the
27   contact to the court.

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1                Because you will receive all the evidence and legal

2    instruction you properly may consider to return a verdict: do not

3    read, watch, or listen to any news or media accounts or

4    commentary about the case or anything to do with it; do not do

5    any research, such as consulting dictionaries, searching the

6    Internet or using other reference materials; and do not make any

7    investigation or in any other way try to learn about the case on

8    your own.

9                The law requires these restrictions to ensure the

10   parties have a fair trial based on the same evidence that each

11   party has had an opportunity to address. A juror who violates

12   these restrictions jeopardizes the fairness of these proceedings,

13   and a mistrial could result that would require the entire trial

14   process to start over. If any juror is exposed to any outside

15   information, please notify the court immediately.

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1                               INSTRUCTION NO. 8

2         At the end of the trial you will have to make your decision

3    based on what you recall of the evidence. You will not have a

4    written transcript of the trial. I urge you to pay close

5    attention to the testimony as it is given.

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1                                   INSTRUCTION NO. 9

2              If you wish, you may take notes to help you remember

3    the evidence. If you do take notes, please keep them to yourself

4    until you and your fellow jurors go to the jury room to decide

5    the   case.   Do   not   let     note-taking   distract   you   from   being

6    attentive. When you leave court for recesses, your notes shall be

7    left on the seat you now occupy. If you elect to take your notes,

8    place your seat number outside the notebook you possess so that

9    the Courtroom Deputy Clerk can give you your notebook after a

10   recess.

11         Whether or not you take notes, you should rely on your own

12   memory of the evidence. Notes are only to assist your memory. You

13   should not be overly influenced by your notes or those of your

14   fellow jurors.

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2                                  INSTRUCTION NO. 10

3               The next phase of the trial will now begin. First, each

4    party may make an opening statement. An opening statement is not

5    evidence. It is simply an outline to help you understand what

6    that   party   expects      the   evidence     will    show.   A   party   is   not

7    required to make an opening statement.

8               The     United    States    will     then    present    evidence     and

9    counsel for defendants John Michael DiChiara and George Larsen

10   and defendant Larry Todt, proceeding without counsel, may cross-

11   examine.   Then,    if   the      defendants    choose    to   offer   evidence,

12   counsel for the United States may cross-examine.

13              After the evidence has been presented, the parties will

14   make closing arguments and I will instruct you on the law that

15   applies to the case.

16              After that, you will go to the jury room to deliberate

17   on your verdict.

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4    PROPOSED JURY INSTRUCTION THAT MAY BE GIVEN DURING TRIAL,
                    IF A PARTY MAKES THE REQUEST
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1                               INSTRUCTION NO. 1

2         You are about to hear evidence that the defendant John

3    Michael DiChiara committed other acts not charged here. You may

4    consider this evidence only for its bearing, if any, on the

5    question of that defendant’s intent, plan, knowledge, and absence

6    of mistake and for no other purpose. You may not consider this

7    evidence as evidence of guilt of the crime for which the

8    defendants are now on trial.

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4                PROPOSED CLOSING JURY INSTRUCTIONS

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1                               INSTRUCTION NO. 1

2              Members of the jury, now that you have heard all the

3    evidence, it is my duty to instruct you on the law that applies

4    to this case. Each of you now possesses a copy of these

5    instructions that you may take to the jury room to consult if you

6    desire.

7              It is your duty to weigh and to evaluate all the

8    evidence received in the case and, in that process, to decide the

9    facts. It is also your duty to apply the law as I give it to you

10   to the facts as you find them, whether you agree with the law or

11   not. You must decide the case solely on the evidence and the law

12   and must not be influenced by any personal likes or dislikes,

13   opinions, prejudices, or sympathy. You will recall that you took

14   an oath promising to do so at the beginning of the case.

15             You must follow all these instructions and not single

16   out some and ignore others; they are all important. Please do not

17   read into these instructions or into anything I may have said or

18   done any suggestion as to what verdict you should return—that is

19   a matter entirely up to you.

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1                               INSTRUCTION NO. 2

2              The indictment is not evidence. The defendants have

3    pleaded not guilty to the charges. The defendants are presumed to

4    be innocent unless and until the United States proves the

5    defendants guilty beyond a reasonable doubt. In addition, the

6    defendants do not have to testify or present any evidence to

7    prove innocence. The United States has the burden of proving

8    every element of the charges beyond a reasonable doubt.

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1                               INSTRUCTION NO. 3

2              A defendant in a criminal case has a constitutional

3    right not to testify. You may not draw any inference of any kind

4    from the fact that any of the defendants did not testify.

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1                               INSTRUCTION NO. 4

2              Defendant [NAME] has testified. You should treat this

3    testimony just as you would the testimony of any other witness.

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1                               INSTRUCTION NO. 5

2              Proof beyond a reasonable doubt is proof that leaves

3    you firmly convinced the defendant is guilty. It is not required

4    that the United States prove guilt beyond all possible doubt.

5              A reasonable doubt is a doubt based upon reason and

6    common sense and is not based purely on speculation. It may arise

7    from a careful and impartial consideration of all the evidence,

8    or from lack of evidence.

9              If after a careful and impartial consideration of all

10   the evidence, you are not convinced beyond a reasonable doubt

11   that the defendants are guilty, it is your duty to find the

12   defendants not guilty. On the other hand, if after a careful and

13   impartial consideration of all the evidence, you are convinced

14   beyond a reasonable doubt that the defendants are guilty, it is

15   your duty to find the defendants guilty.

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1                               INSTRUCTION NO. 6

2              The evidence you are to consider in deciding what the

3    facts are consists of:

4              (1) the sworn testimony of any witness;

5              (2) the exhibits received in evidence; and

6              (3) any facts to which the parties have agreed.

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1                               INSTRUCTION NO. 7

2              In reaching your verdict you may consider only the

3    testimony and exhibits received in evidence. The following things

4    are not evidence and you may not consider them in deciding what

5    the facts are:

6              1.     Questions, statements, objections, and arguments

7    by the lawyers are not evidence. The lawyers are not witnesses.

8    Although you must consider a lawyer’s questions to understand the

9    answers of a witness, the lawyer’s questions are not evidence.

10   Similarly, what the lawyers and parties have said in their

11   opening statements, closing arguments and at other times is

12   intended to help you interpret the evidence, but it is not

13   evidence. If the facts as you remember them differ from the way

14   the lawyers state them, your memory of them controls.

15             2.     Any testimony that I have excluded, stricken, or

16   instructed you to disregard is not evidence. [In addition, some

17   evidence was received only for a limited purpose; when I have

18   instructed you to consider certain evidence in a limited way, you

19   must do so.]

20             3.     Anything you may have seen or heard when the court
21   was not in session is not evidence. You are to decide the case

22   solely on the evidence received at the trial.

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1                               INSTRUCTION NO. 8

2              Evidence may be direct or circumstantial. Direct

3    evidence is direct proof of a fact, such as testimony by a

4    witness about what that witness personally saw or heard or did.

5    Circumstantial evidence is indirect evidence, that is, it is

6    proof of one or more facts from which you can find another fact.

7              You are to consider both direct and circumstantial

8    evidence. Either can be used to prove any fact. The law makes no

9    distinction between the weight to be given to either direct or

10   circumstantial evidence. It is for you to decide how much weight

11   to give to any evidence.

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1                                INSTRUCTION NO. 9

2              In deciding the facts in this case, you may have to

3    decide which testimony to believe and which testimony not to

4    believe. You may believe everything a witness says, or part of

5    it, or none of it.

6              In considering the testimony of any witness, you may

7    take into account:

8              (1) the witness’s opportunity and ability to see or

9                   hear or know the things testified to;

10             (2) the witness’s memory;

11             (3) the witness’s manner while testifying;

12             (4) the witness’s interest in the outcome of the case,

13                  if any;

14             (5) the witness’s bias or prejudice, if any;

15             (6) whether other evidence contradicted the witness’s

16                  testimony;

17             (7) the reasonableness of the witness’s testimony in

18                  light of all the evidence; and

19             (8) any other factors that bear on believability.

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21             The weight of the evidence as to a fact does not

22   necessarily depend on the number of witnesses who testify. What

23   is important is how believable the witnesses were, and how much

24   weight you think their testimony deserves.

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1                               INSTRUCTION NO. 10

2              You are here only to determine whether the defendants

3    are guilty or not guilty of the charges in the indictment. The

4    defendants are not on trial for any conduct or offense not

5    charged in the indictment.

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1                               INSTRUCTION NO. 11

2              A separate crime is charged against one or more of the

3    defendants in each count. The charges have been joined for trial.

4    You must decide the case of each defendant on each crime charged

5    against that defendant separately. Your verdict on any count as

6    to any defendant should not control your verdict on any other

7    count or as to any other defendant.

8              All the instructions apply to each defendant and to

9    each count unless a specific instruction states that it applies

10   only to a specific count.

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1                               INSTRUCTION NO. 12

2              Although the defendants are being tried together, you

3    must give separate consideration to each defendant. In doing so,

4    you must determine which evidence in the case applies to each

5    defendant, disregarding any evidence admitted solely against some

6    other defendants. The fact that you may find one of the

7    defendants guilty or not guilty should not control your verdict

8    as to any other defendants.

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1                               INSTRUCTION NO. 13

2              The indictment charges that a crime was committed “on

3    or about” a certain date. The United States does not have to

4    prove that the crime occurred on an exact date. The United States

5    only has to prove beyond a reasonable doubt that the crime was

6    committed on a date reasonably close to the date alleged.

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1                               INSTRUCTION NO. 14

2              You have heard testimony that defendant John Michael

3    DiChiara made a statement. It is for you to decide (1) whether

4    that defendant made the statement, and (2) if so, how much weight

5    to give to it. In making those decisions, you should consider all

6    the evidence about the statement, including the circumstances

7    under which defendant John Michael DiChiara may have made it.

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1                               INSTRUCTION NO. 15

2              You have heard evidence that the defendant John Michael

3    DiChiara committed other acts not charged here. You may consider

4    this evidence only for its bearing, if any, on the question of

5    defendant John Michael DiChiara’s intent, plan, knowledge,

6    absence of mistake, and for no other purpose. You may not

7    consider this evidence as evidence of guilt of the crime for

8    which the defendants are now on trial.

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1                               INSTRUCTION NO. 16

2              You have heard testimony from [name of witness], a

3    witness who received immunity. That testimony was given in

4    exchange for a promise by the United States that the testimony

5    will not be used in any case against the witness. For this

6    reason, in evaluating the testimony of [name of witness], you

7    should consider the extent to which or whether [his] [her]

8    testimony may have been influenced by this factor. In addition,

9    you should examine the testimony of [name of witness] with

10   greater caution than that of other witnesses.

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1                               INSTRUCTION NO. 17

2              You have heard testimony from [name of witness], who

3    pleaded guilty to a crime arising out of the same events for

4    which the defendants are on trial. This guilty plea is not

5    evidence against the defendants, and you may consider it only in

6    determining this witness’s believability.

7              For this reason, in evaluating the testimony of [name

8    of witness], you should consider the extent to which or whether

9    [his] [her] testimony may have been influenced by this factor. In

10   addition, you should examine the testimony of [name of witness]

11   with greater caution than that of other witnesses.

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1                               INSTRUCTION NO. 18

2              During the trial, certain charts and summaries were

3    shown to you in order to help explain the evidence in the case.

4    These charts and summaries were not admitted in evidence and will

5    not go into the jury room with you. They are not themselves

6    evidence or proof of any facts. If they do not correctly reflect

7    the facts or figures shown by the evidence in the case, you

8    should disregard these charts and summaries and determine the

9    facts from the underlying evidence.

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1                               INSTRUCTION NO. 19

2              Certain charts and summaries have been admitted in

3    evidence. Charts and summaries are only as good as the underlying

4    supporting material. You should, therefore, give them only such

5    weight as you think the underlying material deserves.

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1                               INSTRUCTION NO. 20

2              The defendants are charged in Count One of the

3    indictment with conspiring to falsely make lending association

4    writings and to commit bank fraud, in violation of Section 371 of

5    Title 18 of the United States Code. In order for each of the

6    defendants to be found guilty of that charge, the government must

7    prove each of the following elements beyond a reasonable doubt:

8              First, beginning on or about April 22, 2010, and ending

9    on or about November 18, 2011, there was an agreement between two

10   or more persons to commit at least one crime as charged in the

11   indictment—to wit, to falsely make lending association writings

12   or to commit bank fraud;

13             Second, each of the defendants became members of the

14   conspiracy knowing of at least one of its objects and intending

15   to help accomplish it; and

16             Third, one of the members of the conspiracy performed

17   at least one overt act on or after April 22, 2010, for the

18   purpose of carrying out the conspiracy.

19             A conspiracy is a kind of criminal partnership—an

20   agreement of two or more persons to commit one or more crimes.
21   The crime of conspiracy is the agreement to do something

22   unlawful; it does not matter whether the crime agreed upon was

23   committed.

24             For a conspiracy to have existed, it is not necessary

25   that the conspirators made a formal agreement or that they agreed

26   on every detail of the conspiracy. It is not enough, however,
27   that they simply met, discussed matters of common interest, acted

28   in similar ways, or perhaps helped one another. You must find
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1    that there was a plan to commit at least one of the crimes

2    alleged in the indictment as an object of the conspiracy with all

3    of you agreeing as to the particular crime which the conspirators

4    agreed to commit.

5              One becomes a member of a conspiracy by willfully

6    participating in the unlawful plan with the intent to advance or

7    further some object or purpose of the conspiracy, even though the

8    person does not have full knowledge of all the details of the

9    conspiracy. Furthermore, one who willfully joins an existing

10   conspiracy is as responsible for it as the originators. On the

11   other hand, one who has no knowledge of a conspiracy, but happens

12   to act in a way which furthers some object or purpose of the

13   conspiracy, does not thereby become a conspirator. Similarly, a

14   person does not become a conspirator merely by associating with

15   one or more persons who are conspirators, nor merely by knowing

16   that a conspiracy exists.

17             An overt act does not itself have to be unlawful. A

18   lawful act may be an element of a conspiracy if it was done for

19   the purpose of carrying out the conspiracy. The government is not

20   required to prove that the defendant personally did one of the
21   overt acts.

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1                               INSTRUCTION NO. 21

2              A conspiracy may continue for a long period of time and

3    may include the performance of many transactions. It is not

4    necessary that all members of the conspiracy join it at the same

5    time, and one may become a member of a conspiracy without full

6    knowledge of all the details of the unlawful scheme or the names,

7    identities, or locations of all of the other members.

8              Even though a defendant did not directly conspire with

9    the other defendants or other conspirators in the overall scheme,

10   the defendant has, in effect, agreed to participate in the

11   conspiracy if the government proves each of the following beyond

12   a reasonable doubt that:

13             (1) the defendant directly conspired with one or more

14                  conspirators to carry out at least one of the

15                  objects of the conspiracy;

16             (2) the defendant knew or had reason to know that other

17                  conspirators were involved with those with whom the

18                  defendant directly conspired; and

19             (3) the defendant had reason to believe that whatever

20                  benefits the defendant might get from the
21                  conspiracy were probably dependent upon the success

22                  of the entire venture.

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24             It is not a defense that a person’s participation in a

25   conspiracy was minor or for a short period of time.

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1                               INSTRUCTION NO. 22

2              Each member of the conspiracy is responsible for the

3    actions of the other conspirators performed during the course and

4    in furtherance of the conspiracy. If one member of a conspiracy

5    commits a crime in furtherance of a conspiracy, the other members

6    have also, under the law, committed that crime.

7              Therefore, you may find defendant John Michael DiChiara

8    guilty of with falsely making bonds and obligation of certain

9    lending agencies, in violation of Section 493 of United States

10   Code Title 18, as alleged in Counts Two through Sixteen of the

11   indictment, if the government has proved each of the following

12   elements beyond a reasonable doubt:

13             First, a person or persons named in Counts Two through

14   Sixteen of the indictment committed the crime of falsely making

15   bonds and obligation of certain lending agencies as alleged in

16   those counts;

17             Second, the person was a member of the conspiracy

18   charged in Count One of the indictment;

19             Third, the person committed the crime of falsely making

20   bonds and obligation of certain lending agencies, as alleged in
21   Counts Two through Sixteen, in furtherance of the conspiracy;

22             Fourth, the defendant was a member of the same

23   conspiracy at the time the offense charged in Counts Two through

24   Sixteen were committed; and

25             Fifth, the offense fell within the scope of the

26   unlawful agreement and could reasonably have been foreseen to be
27   a necessary or natural consequence of the unlawful agreement.

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1              You may also find defendant John Michael DiChiara

2    guilty of bank fraud, in violation of Section 1344(1) of United

3    States Code Title 18, as alleged in Counts Seventeen through

4    Twenty-Four, Counts Twenty-Six through Thirty-One, and Counts

5    Thirty-Three through Thirty-Nine of the indictment, if the

6    government has proved each of the following elements beyond a

7    reasonable doubt:

8              First, a person or persons named in Counts Seventeen

9    through Twenty-Four, Counts Twenty-Six through Thirty-One, and

10   Counts Thirty-Three through Thirty-Nine of the indictment of the

11   indictment committed the crime of bank fraud as alleged in those

12   counts;

13             Second, the person was a member of the conspiracy

14   charged in Count One of the indictment;

15             Third, the person committed the crime of bank fraud, as

16   alleged in Counts Seventeen through Twenty-Four, Counts Twenty-

17   Six through Thirty-One, and Counts Thirty-Three through Thirty-

18   Nine of the indictment, in furtherance of the conspiracy;

19             Fourth, the defendant was a member of the same

20   conspiracy at the time the offense charged in Counts Seventeen
21   through Twenty-Four, Counts Twenty-Six through Thirty-One, and

22   Counts Thirty-Three through Thirty-Nine of the indictment were

23   committed; and

24             Fifth, the offense fell within the scope of the

25   unlawful agreement and could reasonably have been foreseen to be

26   a necessary or natural consequence of the unlawful agreement.
27             You may find defendant George Larsen guilty of bank

28   fraud, in violation of Section 1344(1) of United States Code
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1    Title 18, as alleged in Counts Nineteen, Twenty, Twenty-Three,

2    Twenty-Four, and Thirty-Three of the indictment, if the

3    government has proved each of the following elements beyond a

4    reasonable doubt:

5              First, a person or persons named in Counts Nineteen,

6    Twenty, Twenty-Three, Twenty-Four, and Thirty-Three of the

7    indictment committed the crime of bank fraud as alleged in those

8    counts;

9              Second, the person was a member of the conspiracy

10   charged in Count One of the indictment;

11             Third, the person committed the crime of bank fraud, as

12   alleged in Counts Nineteen, Twenty, Twenty-Three, Twenty-Four,

13   and Thirty-Three of the indictment, in furtherance of the

14   conspiracy;

15             Fourth, the defendant was a member of the same

16   conspiracy at the time the offense charged in Counts Nineteen,

17   Twenty, Twenty-Three, Twenty-Four, and Thirty-Three of the

18   indictment were committed; and

19             Fifth, the offense fell within the scope of the

20   unlawful agreement and could reasonably have been foreseen to be
21   a necessary or natural consequence of the unlawful agreement.

22             You may find defendant Larry Todt guilty of bank fraud,

23   in violation of Section 1344(1) of United States Code Title 18,

24   as alleged in Count Thirty-One of the indictment, if the

25   government has proved each of the following elements beyond a

26   reasonable doubt:
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1              First, a person or persons named in Count Thirty-One of

2    the indictment committed the crime of bank fraud as alleged in

3    that count;

4              Second, the person was a member of the conspiracy

5    charged in Count One of the indictment;

6              Third, the person committed the crime of bank fraud, as

7    alleged in Count Thirty-One, in furtherance of the conspiracy;

8              Fourth, the defendant was a member of the same

9    conspiracy at the time the offense charged in Count Thirty-One

10   were committed; and

11             Fifth, the offense fell within the scope of the

12   unlawful agreement and could reasonably have been foreseen to be

13   a necessary or natural consequence of the unlawful agreement.

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1                               INSTRUCTION NO. 23

2              Defendant John Michael DiChiara is charged in Counts

3    Two through Sixteen of the indictment with Falsely Making Bonds

4    and Obligations of Certain Lending Agencies violation of Section

5    493 of Title 18 of the United States Code. In order for the

6    defendant to be found guilty of that charge, the government must

7    prove each of the following beyond a reasonable doubt:

8              First, the defendant falsely made, forged,

9    counterfeited, or altered a note, obligation, instrument or

10   writing; and

11             Second, said document was made in imitation or

12   purporting to be in imitation of a note, obligation, instrument

13   or writing of any land bank, intermediate credit bank, insured

14   credit union, bank for cooperatives or any lending, mortgage,

15   insurance or savings and loan corporation or association

16   authorized or acting under the laws of the United States.

17             A bank that is insured through the federal deposit

18   insurance corporation is a bank that is authorized or acting

19   under the laws of the United States.

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1                               INSTRUCTION NO. 24

2                Defendant John Michael DiChiara is charged in Counts

3    Seventeen through Twenty-Four, Twenty-Six through Thirty-One, and

4    Thirty-Three through Thirty-Nine; defendant George Larsen is

5    charged in Counts Nineteen, Twenty, Twenty-Three, Twenty-Four,

6    and Thirty-Three; and defendant Larry Todt is charged in Count

7    Thirty-One of the indictment with bank fraud in violation of

8    Section 1344(1) of Title 18 of the United States Code. In order

9    for each of the defendants to be found guilty of that charge, the

10   government must prove each of the following beyond a reasonable

11   doubt:

12               First, each of the defendants knowingly executed, or

13   attempted to execute, a scheme to defraud a financial institution

14   as to a material matter;

15               Second, each of the defendants did so with the intent

16   to defraud the financial institution; and

17               Third, the financial institution was insured by the

18   Federal Deposit Insurance Corporation or was a mortgage lending

19   business.

20               The phrase “scheme to defraud” means any deliberate
21   plan of action or course of conduct by which someone intends to

22   deceive, cheat, or deprive a financial institution of something

23   of value. It is not necessary for the government to prove that a

24   financial institution was the only or sole victim of the scheme

25   to defraud. It is also not necessary for the government to prove

26   that the defendant was actually successful in defrauding any
27   financial institution. Finally, it is not necessary for the

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1    government to prove that any financial institution lost any money

2    or property as a result of the scheme to defraud.

3              An intent to defraud is an intent to deceive or cheat.

4              An attempt to commit bank fraud requires the intent to

5    commit bank fraud, as described above, as well as a substantial

6    step by that defendant toward committing bank fraud. Mere

7    preparation is not a substantial step toward committing the

8    crime. To constitute a substantial step, a defendant’s act or

9    actions must demonstrate that the crime will take place unless

10   interrupted by independent circumstances.

11             A mortgage lending business means an organization which

12   finances or refinances any debt secured by an interest in real

13   estate, including private mortgage companies and any subsidiaries

14   of such organizations, and whose activities affect interstate or

15   foreign commerce.

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1                               INSTRUCTION NO. 25

2              Whether the financial institution acted prudently is

3    irrelevant to whether the defendant acted with the intent to

4    defraud that financial institution.

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1                               INSTRUCTION NO. 26

2              If you decide that the defendant was a member of a

3    scheme to defraud and that the defendant had the intent to

4    defraud, the defendant may be responsible for other co-schemers’

5    actions during the course of and in furtherance of the scheme,

6    even if the defendant did not know what they said or did.

7              For the defendant to be guilty of an offense committed

8    by a co-schemer in furtherance of the scheme, the offense must be

9    one that the defendant could reasonably foresee as a necessary

10   and natural consequence of the scheme to defraud.

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1                               INSTRUCTION NO. 27

2              An act is done knowingly if the defendant is aware of

3    the act and does not act or fail to act through ignorance,

4    mistake, or accident. You may consider evidence of the

5    defendant’s words, acts, or omissions, along with all the other

6    evidence, in deciding whether the defendant acted knowingly.

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1                               INSTRUCTION NO. 28

2              You may find that a defendant acted knowingly if you

3    find beyond a reasonable doubt that a defendant:

4              1. Was aware of a high probability that the recorded

5    documents prepared by or signed by, or caused to be prepared by

6    the defendant contained false statements, and

7              2. Deliberately avoided learning the truth.

8              You may not find such knowledge, however, if you find

9    that the defendant actually believed that the recorded documents

10   did not contain false statements or if you find that the

11   defendant was simply careless.

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1                               INSTRUCTION NO. 29

2              A defendant may be found guilty of falsely making bonds

3    and obligations of certain lending agencies, in violation of

4    Title 18, United States Code Section 493, and of bank fraud, in

5    violation of Title 18, United States Code Section 1344(1), even

6    if the defendant personally did not commit the act or acts

7    constituting the crime but aided and abetted in its commission.

8    To prove a defendant guilty of falsely making bonds and

9    obligations of certain lending agencies or bank fraud by aiding

10   and abetting, the United States must prove each of the following

11   beyond a reasonable doubt:

12             First, falsely making bonds and obligations of certain

13   lending agencies or bank fraud was committed by someone;

14             Second, the defendant aided, counseled, commanded,

15   induced, or procured that person with respect to at least one

16   element of falsely making bonds and obligations of certain

17   lending agencies or bank fraud;

18             Third, the defendant acted with the intent to

19   facilitate falsely making bonds and obligations of certain

20   lending agencies or bank fraud; and
21             Fourth, the defendant acted before the crime was

22   completed.

23             It is not enough that the defendant merely associated

24   with the person committing the crime, or unknowingly or

25   unintentionally did things that were helpful to that person, or

26   was present at the scene of the crime. The evidence must show
27   beyond a reasonable doubt that the defendant acted with the

28   knowledge and intention of helping that person commit falsely
                                     34
     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 59 of 86


1    making bonds and obligations of certain lending agencies or bank

2    fraud.

3              A defendant acts with the intent to facilitate the

4    crime when the defendant actively participates in a criminal

5    venture with advance knowledge of the crime and having acquired

6    that knowledge when the defendant still had a realistic

7    opportunity to withdraw from the crime.

8              The United States is not required to prove precisely

9    which defendant actually committed the crime and which defendant

10   aided and abetted.

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1                               INSTRUCTION NO. 30

2              When you begin your deliberations, elect one member of

3    the jury as your presiding juror who will preside over the

4    deliberations and speak for you here in court.

5              You will then discuss the case with your fellow jurors

6    to reach agreement if you can do so. Your verdict, whether guilty

7    or not guilty, must be unanimous.

8              Each of you must decide the case for yourself, but you

9    should do so only after you have considered all the evidence,

10   discussed it fully with the other jurors, and listened to the

11   views of your fellow jurors.

12             Do not be afraid to change your opinion if the

13   discussion persuades you that you should. But do not come to a

14   decision simply because other jurors think it is right.

15             It is important that you attempt to reach a unanimous

16   verdict but, of course, only if each of you can do so after

17   having made your own conscientious decision. Do not change an

18   honest belief about the weight and effect of the evidence simply

19   to reach a verdict.

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     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 61 of 86


1                               INSTRUCTION NO. 31

2              Some of you have taken notes during the trial. Whether

3    or not you took notes, you should rely on your own memory of what

4    was said. Notes are only to assist your memory. You should not be

5    overly influenced by your notes or those of your fellow jurors.

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1                               INSTRUCTION NO. 32

2              The punishment provided by law for this crime is for

3    the court to decide. You may not consider punishment in deciding

4    whether the United States has proved its case against the

5    defendant beyond a reasonable doubt.

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1                               INSTRUCTION NO. 33

2              A verdict form has been prepared for you. After you

3    have reached unanimous agreement on a verdict, your foreperson

4    should complete the verdict form according to your deliberations,

5    sign and date it, and advise the court security officer that you

6    are ready to return to the courtroom.

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     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 64 of 86


1                               INSTRUCTION NO. 34

2              If it becomes necessary during your deliberations to

3    communicate with me, you may send a note through the clerk or

4    court security officer, signed by any one or more of you. No

5    member of the jury should ever attempt to communicate with me

6    except by a signed writing, and I will respond to the jury

7    concerning the case only in writing or here in open court. If you

8    send out a question, I will consult with the lawyers before

9    answering it, which may take some time. You may continue your

10   deliberations while waiting for the answer to any question. You

11   are not to tell anyone—including me—how the jury stands,

12   numerically or otherwise, on any question submitted to you,

13   including the question of the guilt of the defendant, until after

14   you have reached a unanimous verdict or have been discharged.

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Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 65 of 86


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                        PROPOSED VERDICT FORMS
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     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 66 of 86


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4                           UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                 No. 2:15-cr-00190-GEB
8                  Plaintiff,
9         v.                                   VERDICT FORM
10   LARRY TODT,
11                 Defendant.
12

13
                      WE,    THE   JURY,   UNANIMOUSLY   FIND   THE   DEFENDANT,
14
          LARRY TODT, AS FOLLOWS:
15

16   AS TO COUNT ONE OF THE INDICTMENT:
17             NOT
     GUILTY    GUILTY
18

19   _______   _______                             Conspiracy to falsely
                                                   make lending association
20                                                 writings and to commit
                                                   bank fraud, in violation
21                                                 of Title 18, United
                                                   States Code Section 371
22
          If you found the defendant guilty of Count One, do you find
23
          that the defendant conspired to falsely make lending
24        association writings?

25        Yes ______ No ______

26        If you found the defendant guilty of Count One, do you find
          that the defendant conspired to commit bank fraud?
27
          Yes ______ No ______
28
                                           1
     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 67 of 86


1
     AS TO COUNT THIRTY-ONE OF THE INDICTMENT:
2
               NOT
3    GUILTY    GUILTY
4
     _______   _______
5                                                  Bank Fraud, in violation
                                                   of Title 18, United
6                                                  States Code Section
                                                   1344(1), as to JP Morgan
7                                                  Chase (formerly
8                                                  Washington Mutual) in
                                                   relation to property at
9                                                  28432 Avenida Placida, on
                                                   or about April 28, 2010
10

11

12

13   _______________________                 ________________________
     DATED                                   FOREPERSON
14

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     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 68 of 86


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4                           UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                 No. 2:15-cr-00190-GEB
8                 Plaintiff,
9         v.                                   VERDICT FORM
10   GEORGE LARSEN,
11                Defendant.
12

13
                      WE,    THE   JURY,   UNANIMOUSLY   FIND   THE   DEFENDANT,
14
          GEORGE LARSEN, AS FOLLOWS:
15

16   AS TO COUNT ONE OF THE INDICTMENT:
17             NOT
     GUILTY    GUILTY
18

19   _______   _______                             Conspiracy to falsely
                                                   make lending association
20                                                 writings and to commit
                                                   bank fraud, in violation
21                                                 of Title 18, United
                                                   States Code Section 371
22
          If you found the defendant guilty of Count One, do you find
23
          that the defendant conspired to falsely make lending
24        association writings?

25        Yes ______ No ______

26        If you found the defendant guilty of Count One, do you find
          that the defendant conspired to commit bank fraud?
27
          Yes ______ No ______
28
                                           1
     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 69 of 86


1    AS TO COUNT NINETEEN OF THE INDICTMENT:

2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Bank Fraud, in violation
                                                   of Title 18, United
6                                                  States Code Section
                                                   1344(1), as to Bank of
7                                                  America in relation to
                                                   property at 1928 Sansone
8                                                  Drive, on or about
9                                                  October 1, 2010

10
     AS TO COUNT TWENTY OF THE INDICTMENT:
11
               NOT
12   GUILTY    GUILTY
13
     _______   _______
14
                                                   Bank Fraud, in violation
15                                                 of Title 18, United
                                                   States Code Section
16                                                 1344(1), as to JP Morgan
                                                   Chase in relation to
17                                                 property at 1928 Sansone
                                                   Drive, on or about
18
                                                   October 1, 2010
19

20   AS TO COUNT TWENTY-THREE OF THE INDICTMENT:

21             NOT
     GUILTY    GUILTY
22

23   _______   _______
                                                   Bank Fraud, in violation
24                                                 of Title 18, United
25                                                 States Code Section
                                                   1344(1), as to Bank of
26                                                 America in relation to
                                                   property at 1928 Sansone
27                                                 Drive, on or about
                                                   October 1, 2010
28
                                         1
     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 70 of 86


1    AS TO COUNT TWENTY-FOUR OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Bank Fraud, in violation
                                                   of Title 18, United
6                                                  States Code Section
                                                   1344(1), as to Citibank
7                                                  in relation to property
                                                   at 564 Stone Drive, on or
8
                                                   about February 18, 2011
9

10   AS TO COUNT THIRTY-THREE OF THE INDICTMENT:

11             NOT
     GUILTY    GUILTY
12

13   _______   _______
14                                                 Bank Fraud, in violation
                                                   of Title 18, United
15                                                 States Code Section
                                                   1344(1), as to Deutsche
16                                                 Bank/PNC Bank in relation
                                                   to property at 60 Canyon
17                                                 Drive, on or about March
                                                   22, 2011
18

19

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21

22   _______________________          ________________________
23   DATED                             FOREPERSON

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     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 71 of 86


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4                           UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                 No. 2:15-cr-00190-GEB
8                 Plaintiff,
9         v.                                   VERDICT FORM
10   JOHN MICHAEL DICHIARA,
11                Defendant.
12

13
                      WE,    THE   JURY,   UNANIMOUSLY   FIND   THE   DEFENDANT,
14
          JOHN MICHAEL DICHIARA, AS FOLLOWS:
15

16   AS TO COUNT ONE OF THE INDICTMENT:
17             NOT
     GUILTY    GUILTY
18

19   _______   _______                             Conspiracy to falsely
                                                   make lending association
20                                                 writings and to commit
                                                   bank fraud, in violation
21                                                 of Title 18, United
                                                   States Code Section 371
22
          If you found the defendant guilty of Count One, do you find
23
          that the defendant conspired to falsely make lending
24        association writings?

25        Yes ______ No ______

26        If you found the defendant guilty of Count One, do you find
          that the defendant conspired to commit bank fraud?
27
          Yes ______ No ______
28
                                           3
     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 72 of 86


1    AS TO COUNT TWO OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Falsely Making Bonds and
                                                   Obligation of Certain
6                                                  Lending Agencies, in
                                                   violation of Title 18,
7                                                  United States Code section
                                                   493, as to Substitution of
8                                                  Trustee and Deed of
                                                   Reconveyance for 3182
9                                                  Shawnee Court, Cameron
                                                   Park, CA on or about
10
                                                   December 3, 2010
11

12

13   AS TO COUNT THREE OF THE INDICTMENT:

14             NOT
     GUILTY    GUILTY
15

16   _______   _______
                                                   Falsely Making Bonds and
17                                                 Obligation of Certain
18                                                 Lending Agencies, in
                                                   violation of Title 18,
19                                                 United States Code section
                                                   493, as to Substitution of
20                                                 Trustee and Deed of
                                                   Reconveyance for 3182
21                                                 Shawnee Court, Cameron
                                                   Park, CA on or about
22                                                 December 2, 2010
23

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                                         2
     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 73 of 86


1    AS TO COUNT FOUR OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Falsely Making Bonds and
                                                   Obligation of Certain
6                                                  Lending Agencies, in
                                                   violation of Title 18,
7                                                  United States Code section
                                                   493, as to Substitution of
8                                                  Trustee and Deed of
                                                   Reconveyance for 319
9                                                  Marsalla Drive,
                                                   Sacramento, CA on or about
10
                                                   February 15, 2011
11

12

13   AS TO COUNT FIVE OF THE INDICTMENT:

14             NOT
     GUILTY    GUILTY
15

16   _______   _______
                                                   Falsely Making Bonds and
17                                                 Obligation of Certain
18                                                 Lending Agencies, in
                                                   violation of Title 18,
19                                                 United States Code section
                                                   493, as to Substitution of
20                                                 Trustee and Deed of
                                                   Reconveyance for 319
21                                                 Marsalla Drive,
                                                   Sacramento, CA on or about
22                                                 March 1, 2011
23

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                                         3
     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 74 of 86


1    AS TO COUNT SIX OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Falsely Making Bonds and
                                                   Obligation of Certain
6                                                  Lending Agencies, in
                                                   violation of Title 18,
7                                                  United States Code section
                                                   493, as to Substitution of
8                                                  Trustee and Deed of
                                                   Reconveyance for 6303
9                                                  Green Garden Drive,
                                                   Bakersfield, CA on or
10
                                                   about October 4, 2010
11

12

13   AS TO COUNT SEVEN OF THE INDICTMENT:

14             NOT
     GUILTY    GUILTY
15

16   _______   _______
                                                   Falsely Making Bonds and
17                                                 Obligation of Certain
18                                                 Lending Agencies, in
                                                   violation of Title 18,
19                                                 United States Code section
                                                   493, as to Substitution of
20                                                 Trustee and Deed of
                                                   Reconveyance for 6303
21                                                 Green Garden Drive,
                                                   Bakersfield, CA on or
22                                                 about September 30, 2010
23

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     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 75 of 86


1    AS TO COUNT EIGHT OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Falsely Making Bonds and
                                                   Obligation of Certain
6                                                  Lending Agencies, in
                                                   violation of Title 18,
7                                                  United States Code section
                                                   493, as to Substitution of
8                                                  Trustee and Deed of
                                                   Reconveyance for 1420
9                                                  Roaring Camp Court, Plumas
                                                   Lake, CA on or about
10
                                                   December 22, 2010
11

12

13

14   AS TO COUNT NINE OF THE INDICTMENT:

15             NOT
     GUILTY    GUILTY
16

17   _______   _______
                                                   Falsely Making Bonds and
18                                                 Obligation of Certain
19                                                 Lending Agencies, in
                                                   violation of Title 18,
20                                                 United States Code section
                                                   493, as to Substitution of
21                                                 Trustee and Deed of
                                                   Reconveyance for 7593
22                                                 Almondwood Avenue, Citrus
                                                   Heights, CA on or about
23                                                 October 20, 2010
24

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     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 76 of 86


1    AS TO COUNT TEN OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Falsely Making Bonds and
                                                   Obligation of Certain
6                                                  Lending Agencies, in
                                                   violation of Title 18,
7                                                  United States Code section
                                                   493, as to Substitution of
8                                                  Trustee and Deed of
                                                   Reconveyance for 5479
9                                                  Dunlay Drive, Sacramento,
                                                   CA on or about September
10
                                                   21, 2010
11

12

13

14

15   AS TO COUNT ELEVEN OF THE INDICTMENT:

16             NOT
     GUILTY    GUILTY
17

18   _______   _______
                                                   Falsely Making Bonds and
19                                                 Obligation of Certain
20                                                 Lending Agencies, in
                                                   violation of Title 18,
21                                                 United States Code section
                                                   493, as Notice of
22                                                 Rescission of Notice of
                                                   Default for 7233 Cromwell
23                                                 Drive, Sacramento, CA on
                                                   or about October 14, 2010
24

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     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 77 of 86


1    AS TO COUNT TWELVE OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Falsely Making Bonds and
                                                   Obligation of Certain
6                                                  Lending Agencies, in
                                                   violation of Title 18,
7                                                  United States Code section
                                                   493, as to Substitution of
8                                                  Trustee and Deed of
                                                   Reconveyance for 7233
9                                                  Cromwell Drive,
                                                   Sacramento, CA on or about
10
                                                   October 14, 2010
11

12

13

14   AS TO COUNT THIRTEEN OF THE INDICTMENT:

15             NOT
     GUILTY    GUILTY
16

17   _______   _______
                                                   Falsely Making Bonds and
18                                                 Obligation of Certain
19                                                 Lending Agencies, in
                                                   violation of Title 18,
20                                                 United States Code section
                                                   493, as to Substitution of
21                                                 Trustee and Deed of
                                                   Reconveyance for 7233
22                                                 Cromwell Drive,
                                                   Sacramento, CA on or about
23                                                 October 15, 2010
24

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     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 78 of 86


1    AS TO COUNT FOURTEEN OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Falsely Making Bonds and
                                                   Obligation of Certain
6                                                  Lending Agencies, in
                                                   violation of Title 18,
7                                                  United States Code section
                                                   493, as to Substitution of
8                                                  Trustee for 2162 Painted
                                                   Pony Road, Somerset, CA on
9                                                  or about February 14, 2011
10

11

12

13

14   AS TO COUNT FIFTEEN OF THE INDICTMENT:

15             NOT
     GUILTY    GUILTY
16

17   _______   _______
                                                   Falsely Making Bonds and
18                                                 Obligation of Certain
                                                   Lending Agencies, in
19                                                 violation of Title 18,
20                                                 United States Code section
                                                   493, as to a Full
21                                                 Reconveyance for 2162
                                                   Painted Pony Road,
22                                                 Somerset, CA on or about
                                                   February 14, 2011
23

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     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 79 of 86


1    AS TO COUNT SIXTEEN OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Falsely Making Bonds and
                                                   Obligation of Certain
6                                                  Lending Agencies, in
                                                   violation of Title 18,
7                                                  United States Code section
                                                   493, as to a Notice of
8                                                  Rescission of Notice of
                                                   Default and Election to
9                                                  Sell Under Deed of Trust
                                                   for 2162 Painted Pony
10
                                                   Road, Somerset, CA on or
11                                                 about March 4, 2011

12

13

14
     AS TO COUNT SEVENTEEN OF THE INDICTMENT:
15
               NOT
16   GUILTY    GUILTY
17
     _______   _______
18                                                 Bank Fraud, in violation
19                                                 of Title 18, United States
                                                   Code section 1344(1), as
20                                                 to World Savings
                                                   Bank/Wells Fargo in
21                                                 relation to property at
                                                   319 Marsalla Drive, on or
22                                                 about February 15, 2011

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     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 80 of 86


1    AS TO COUNT EIGHTEEN OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Bank Fraud, in violation
                                                   of Title 18, United States
6                                                  Code section 1344(1), as
                                                   to World Savings
7                                                  Bank/Wells Fargo in
                                                   relation to property at
8                                                  319 Marsalla Drive, on or
                                                   about March 1, 2011
9

10

11   AS TO COUNT NINETEEN OF THE INDICTMENT:
12
               NOT
13   GUILTY    GUILTY

14
     _______   _______
15                                                 Bank Fraud, in violation
                                                   of Title 18, United States
16                                                 Code section 1344(1), as
                                                   to Bank of America in
17                                                 relation to property at
18                                                 1928 Sansone Drive, on or
                                                   about October 1, 2010
19

20
21   AS TO COUNT TWENTY OF THE INDICTMENT:

22             NOT
     GUILTY    GUILTY
23

24   _______   _______
                                                   Bank Fraud, in violation
25
                                                   of Title 18, United States
26                                                 Code section 1344(1), as
                                                   to JP Morgan Chase in
27                                                 relation to property at
                                                   1928 Sansone Drive, on or
28                                                 about October 1, 2010
                                         10
     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 81 of 86


1    AS TO COUNT TWENTY-ONE OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Bank Fraud, in violation
                                                   of Title 18, United States
6                                                  Code section 1344(1), as
                                                   to M&T Mortgage/Bank of
7                                                  America in relation to
                                                   property at 6303 Green
8                                                  Garden Drive, on or about
                                                   October 4, 2010
9

10

11   AS TO COUNT TWENTY-TWO OF THE INDICTMENT:

12             NOT
     GUILTY    GUILTY
13

14   _______   _______
                                                   Bank Fraud, in violation
15
                                                   of Title 18, United States
16                                                 Code section 1344(1), as
                                                   to RBS Citizens/Charter
17                                                 One Bank in relation to
                                                   property at 6303 Green
18                                                 Garden Drive, on or about
                                                   September 30, 2010
19

20
21   AS TO COUNT TWENTY-THREE OF THE INDICTMENT:

22             NOT
     GUILTY    GUILTY
23

24   _______   _______
                                                   Bank Fraud, in violation
25                                                 of Title 18, United States
                                                   Code section 1344(1), as
26                                                 to Bank of America in
27                                                 relation to property at
                                                   564 Stone Drive, on or
28                                                 about February 18, 2011
                                         11
     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 82 of 86


1    AS TO COUNT TWENTY-FOUR OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Bank Fraud, in violation
                                                   of Title 18, United States
6                                                  Code section 1344(1), as
                                                   to Citibank in relation to
7                                                  property at 564 Stone
                                                   Drive, on or about
8                                                  February 18, 2011
9

10   AS TO COUNT TWENTY-SIX OF THE INDICTMENT:

11             NOT
     GUILTY    GUILTY
12

13   _______   _______
                                                   Bank Fraud, in violation
14                                                 of Title 18, United States
                                                   Code section 1344(1), as
15
                                                   to Fidelity Home
16                                                 Mortgage/Bank of America
                                                   in relation to property at
17                                                 1420 Roaring Camp Court,
                                                   on or about December 22,
18                                                 2010

19

20
     AS TO COUNT TWENTY-SEVEN OF THE INDICTMENT:
21
               NOT
22   GUILTY    GUILTY
23
     _______   _______
24
                                                   Bank Fraud, in violation
25                                                 of Title 18, United States
                                                   Code section 1344(1), as
26                                                 to Wells Fargo in relation
                                                   to property at 3182
27                                                 Shawnee Court, on or about
                                                   December 3, 2010
28
                                         12
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1    AS TO COUNT TWENTY-EIGHT OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Bank Fraud, in violation
                                                   of Title 18, United States
6                                                  Code section 1344(1), as
                                                   to Wells Fargo in relation
7                                                  to property at 3182
                                                   Shawnee Court, on or about
8                                                  December 2, 2010
9
     AS TO COUNT TWENTY-NINE OF THE INDICTMENT:
10

11             NOT
     GUILTY    GUILTY
12

13   _______   _______
                                                   Bank Fraud, in violation
14                                                 of Title 18, United States
                                                   Code section 1344(1), as
15                                                 to Encore Credit/Chase
                                                   Bank in relation to
16                                                 property at 7233 Cromwell
17                                                 Way, on or about December
                                                   14, 2010
18

19
     AS TO COUNT THIRTY OF THE INDICTMENT:
20
               NOT
21
     GUILTY    GUILTY
22

23   _______   _______
                                                   Bank Fraud, in violation
24                                                 of Title 18, United States
                                                   Code section 1344(1), as
25                                                 to Liberty American
                                                   Mortgage/HSBC Bank in
26                                                 relation to property at
                                                   7233 Cromwell Way, on or
27                                                 about December 15, 2010
28
                                         13
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1    AS TO COUNT THIRTY-ONE OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Bank Fraud, in violation
                                                   of Title 18, United States
6                                                  Code section 1344(1), as
                                                   to JP Morgan Chase
7                                                  (formerly Washington
                                                   Mutual) in relation to
8                                                  property at 28432 Avenida
                                                   Placida, on or about April
9                                                  28, 2010
10

11   AS TO COUNT THIRTY-THREE OF THE INDICTMENT:

12             NOT
     GUILTY    GUILTY
13

14   _______   _______
                                                   Bank Fraud, in violation
15                                                 of Title 18, United States
                                                   Code section 1344(1), as
16                                                 to Deutsche Bank/PNC Bank
17                                                 in relation to property at
                                                   60 Canyon Drive, on or
18                                                 about March 22, 2011

19

20
     AS TO COUNT THIRTY_FOUR OF THE INDICTMENT:
21
               NOT
22   GUILTY    GUILTY
23
     _______   _______
24
                                                   Bank Fraud, in violation
25                                                 of Title 18, United States
                                                   Code section 1344(1), as
26                                                 to JP Morgan Chase in
                                                   relation to property at
27                                                 7593 Almondwood Avenue, on
                                                   or about October 20, 2010
28
                                         14
     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 85 of 86


1    AS TO COUNT THIRTY-FIVE OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Bank Fraud, in violation
                                                   of Title 18, United States
6                                                  Code section 1344(1), as
                                                   to United Capital
7                                                  Funding/Bank of America in
                                                   relation to property at
8                                                  3765 Northcrest Court, on
                                                   or about January 19, 2011
9

10

11   AS TO COUNT THIRTY-SIX OF THE INDICTMENT:
12
               NOT
13   GUILTY    GUILTY

14
     _______   _______
15                                                 Bank Fraud, in violation
                                                   of Title 18, United States
16                                                 Code section 1344(1), as
                                                   to Bank of America in
17                                                 relation to property at
18                                                 3765 Northcrest Court, on
                                                   or about January 19, 2011
19

20   AS TO COUNT THIRTY-SEVEN OF THE INDICTMENT:

21             NOT
     GUILTY    GUILTY
22

23   _______   _______
                                                   Bank Fraud, in violation
24
                                                   of Title 18, United States
25                                                 Code section 1344(1), as
                                                   to Deutsche Bank/Bank of
26                                                 America/Countrywide in
                                                   relation to property at
27                                                 5479 Dunlay Drive, on or
                                                   about September 21, 2010
28
                                         15
     Case 2:15-cr-00190-KJM Document 240 Filed 09/07/17 Page 86 of 86


1    AS TO COUNT THIRTY-EIGHT OF THE INDICTMENT:
2              NOT
     GUILTY    GUILTY
3

4    _______   _______
5                                                  Bank Fraud, in violation
                                                   of Title 18, United States
6                                                  Code section 1344(1), as
                                                   to JP Morgan Chase/First
7                                                  Choice Funding in relation
                                                   to property at 154 Brook
8                                                  Court, on or about January
                                                   18, 2011
9

10

11   AS TO COUNT THIRTY-NINE OF THE INDICTMENT:
12
               NOT
13   GUILTY    GUILTY

14
     _______   _______
15                                                 Bank Fraud, in violation
                                                   of Title 18, United States
16                                                 Code section 1344(1), as
                                                   to World Savings/Wachovia
17                                                 in relation to property at
18                                                 1794 Kodiak Circle, on or
                                                   about May 20, 2011
19

20
21

22   _______________________          ________________________
     DATED                             FOREPERSON
23

24

25

26
27

28
                                         16
